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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                   CASE NO.     22-CR-14074-CANNON/MAYNARD(s)

   UNITED STATES OF AMERICA,

   vs.

   SHANNIMA YUANTRELL SESSION,
       a.k.a “Shalamar”
       a.k.a “Lean”
       a.k.a “Dreds”
       a.k.a “Rasta”

                      Defendant.
  ________________________________/

                          UNITED STATES’ EXHIBIT INDEX

            GX1     Map of Locations in Highlands County

            GX3     Map of Anderston Street and Lake Huntley

            GX4     Book Entitled Pimp: A Story of my Life Recovered from 165
                    St. Lucie Street
            GX5     ZTE Cellular Telephone Recovered from 165 St. Lucie Street


            GX6     Device Report for ZTE Cellular Telephone


            GX7     Alcatel Cellular Telephone Recovered from 165 St. Lucie
                    Street
            GX8     Device Report for Alcatel Cellular Telephone


            GX9     Photograph of 335 Highlands Lake Drive


            GX10    Photograph of Interior Door of Highlands Lake Drive


            GX11    Photograph of M&H Store


            GX12    iPhone X Recovered from Defendant’s Person



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            GX13   Device Report for iPhone X Cellular Telephone


            GX14   Device Report for iPhone




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